926 F.2d 1215
    136 L.R.R.M. (BNA) 2720, 288 U.S.App.D.C. 342
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.SECURITY BUREAU, INC., Petitioner,v.NATIONAL LABOR RELATIONS BOARD, Respondent.
    No. 90-1325.
    United States Court of Appeals, District of Columbia Circuit.
    March 8, 1991.
    
      NLRB
      REVIEW DENIED, ENFORCEMENT GRANTED.
      Before HARRY T. EDWARDS, STEPHEN F. WILLIAMS and RANDOLPH, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This cause came to be heard on a petition for review and a cross-application for enforcement of the National Labor Relations Board's Decision and Order in Security Bureau, Inc., 298 N.L.R.B. No. 103 (1990).  The case was briefed and argued by counsel for petitioner, Security Bureau, Inc., and counsel for the Board.  The issues have been accorded full consideration by the Court and occasion no need for a published opinion.  See D.C.Cir. Rule 14(c).
    
    
      2
      On the record before us, we reject the petition for review, substantially for the reasons given by the Board in its Decision and Order.  The Board's decision is supported by substantial evidence, consistent with agency precedent and without legal error.  Accordingly, it is hereby
    
    
      3
      ORDERED and ADJUDGED, by the Court, that the petition for review is denied, and the Board's cross-application for enforcement is granted.
    
    
      4
      The Clerk is directed to issue the mandate herein immediately.
    
    